             Case 10-31714        Doc 5   Filed 06/17/10       Entered 06/17/10 11:02:04       Desc Main
Peritz, Deborah Kay                       BankDocument
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